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                      EXHIBIT B

          Proposed Oncor TSA Amendment Order




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )    Chapter 11
                                                                   )
ENERGY FUTURE HOLDINGS CORP., et al.,3                             )    Case No. 14-10979 (CSS)
                                                                   )
                           Debtors.                                )    (Jointly Administered)
                                                                   )

                    ORDER APPROVING THE ONCOR TSA AMENDMENT


         Upon the motion (the “Motion”)4 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”), (a) approving the

EFIH Settlements on the terms set forth in the Restructuring Support Agreement, (b) approving

the Oncor TSA Amendment, and (c) authorizing the Debtors to take any and all actions

reasonably necessary to consummate, and to perform any and all obligations contemplated by,

the Settlement, all as more fully set forth in the Motion; and upon the First Day Declaration and

the Ying Declaration; and the Court having found that it has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of these chapter 11

cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and the Court having found that the Debtors


3   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the
    debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the debtors’ claims and noticing agent at
    http://www.efhcaseinfo.com.
4   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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provided appropriate notice of the Motion and the opportunity for a hearing on the Motion under

the circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court (the “Hearing”); and

the Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:

        1.         The Motion is granted as set forth herein.

        2.         The Oncor TSA Amendment is hereby approved on the terms set forth in the

Restructuring Support Agreement.

        3.         The Debtors are authorized, but not directed, to enter into the Oncor TSA

Amendment and to take any and all actions necessary to consummate, and to perform any and all

obligations contemplated by the Oncor TSA Amendment, including the payment of any fees

related thereto.

        4.         Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rules are satisfied by such notice.

        5.         Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        6.         All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




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       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       8.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Wilmington, Delaware
Dated: ____________, 2014

                                                    THE HONORABLE CHRISTOPHER S. SONTCHI
                                                    UNITED STATES BANKRUPTCY JUDGE




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